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     7

     8                        UNITED STATES DISTRICT COURT
     9                     SOUTHERN DISTRICT OF CALIFORNIA
    10

    11   DOMINIC FONTALVO, a minor, by
         and through his Guardian Ad Litem,
    12   TASHINA AMADOR, individually
         and as successor in interest to Alexis
    13   Fontalvo, deceased, and                  Case No.: 3:13-cv-00331-GPC-KSC
         TANIKA LONG, a minor, by and
    14   through her Guardian Ad Litem,
         TASHINA AMADOR,                          Judge: Hon. Gonzalo P. Curiel
    15

    16                      Plaintiff,
                                                  DECLARATION OF WILLIAM
    17         vs.                                LAWRENCE IN OPPOSITION TO
                                                  SIKORSKY’S MOTION FOR
    18                                            SUMMARY JUDGMENT
         SIKORSKY AIRCRAFT
    19   CORPORATION;
         SIKORSKY SUPPORT SERVICES,
    20   INC.; UNITED TECHNOLOGIES
         CORPORATION;
    21   G.E. AVIATION SYSTEMS, LLC;
         DUPONT AEROSPACE CO.;
    22   E.I. DUPONT DE NEMOURS AND
         COMPANY;
    23   PKL SERVICES, INC.; and
         DOES 1 through 100, Inclusive,
    24
                      Defendants.
    25

    26   ///
    27   ///
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           DECLARATION                                   CASE NO. 3:13-CV-00331-GPC-KSC
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   1          Pursuant to 28 U.S.C. § 1746, I, William Lawrence, declare:
   2          1.     I am a retired Colonel of the United States Marine Corps, and an expert
   3    retained by the plaintiffs in this action to testify regarding aviation, aircraft design
   4    and development, and military procurement procedures.
   5          2.     I submit this Declaration in opposition to the Motion of defendants
   6    Sikorsky Aircraft Corporation, Sikorsky Support Services, Inc., and United
   7    Technologies Corporation (collectively, “Sikorsky”) for summary judgment.
   8          3.     Since my retirement from the Marine Corps in 1991, I have consulted
   9    in numerous aviation matters. During my time in the service I served as a Marine
  10    Corps aviator from 1966–1991, and have accumulated over 4,000 flight hours in
  11    over 120 types, models and series of aircraft. I attended the U. S. Navy Test Pilot
  12    School from 1978–1979 and served as an engineering and experimental test pilot for
  13    over l0 years. I have flown the CH-53A, as well as the -D and –E models during my
  14    tours as an engineering test pilot from 1979–1991. The CH-53A was my first fleet
  15    helicopter after being designated as a Naval Aviator. I flew combat missions in Viet
  16    Nam in the CH-53A. At the time of my retirement, I was the senior active test pilot
  17    in the Marine Corps and in command of all rotorcraft flight testing for the Navy,
  18    Marine Corps, and Coast Guard. Since 1991, I have continued to fly both military
  19    and civilian aircraft in the furtherance of my investigations.
  20          4.     I am a graduate of the Defense Systems Management College “Program
  21    Manager's Course.” This 5-month course at Fort Belvoir, Virginia, is required for all
  22    senior military and civilian personnel assigned to senior positions in the major
  23    weapons systems acquisition process. This course teaches the acquisition process by
  24    which all major weapons systems are procured. By virtue of my experience and
  25    qualifications, I am an associate fellow in the Society of Experimental Test Pilots.
  26          5.     I have conducted a thorough survey of the prodigious document
  27    productions by both Sikorsky and the U.S. Navy in connection with this case.
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   1          6.     After my review of the documentary productions, I can confidently say
   2    that there is no evidence there was any back-and-forth deliberative process between
   3    the Navy and Sikorsky in which the government exercised any design decisions
   4    regarding how the landing gear control system would be configured and
   5    implemented in the CH-53E, or, for that matter, in the CH-53D. This includes a
   6    complete absence of any evidence that the government exercised any discretion
   7    regarding the placement or routing of the wiring harness, the schematics of the
   8    landing gear control system, the interconnections with the hydraulic utility module,
   9    the safety interlock system, or any particular subsystem or component of any of those
  10    systems. The major weapons system procurement system is designed such that all
  11    design decisions are exercised by the contractor without government interference.
  12          7.     The Detail Specification applicable to the subject helicopter contains
  13    no specifications dictating or mandating the configuration or implementation of the
  14    landing gear control system or the landing gear wiring harness.
  15          8.     The Detail Specification contains no language concerning the
  16    functional design or the physical configuration of the electrical interlocks for the
  17    prevention of inadvertent landing gear retraction. The only express government
  18    requests concerning an interlock, that I noted, pertained to the flight control system
  19    (Secs. 3.10 & 3.15.1); the rotor brake (3.12.15.4); the engine anti-ice system (Sec.
  20    3.16.5.2) and a failsafe to prevent jettisoning of the auxiliary fuel tanks in low-fuel
  21    and on-the-ground situations (Secs. 3.12.9.4, 3.12.9.15 & 3.18.5.2). The interlock
  22    described in Sec. 3.12.9.4 is unique to the CH-53E, and was not present in the -53D.
  23    (Wakefield Decl., Ex. 4 (SER 13197), p. 41 (Sec. 3.1.17). The integration of this
  24    interlock into the weight-on-wheels switch by necessity required significant
  25    modification of the physical configuration of the wiring system, but discretion as to
  26    the implementation and ultimate configuration of this new feature was not specified
  27    by the Navy, and was left entirely up to Sikorsky.
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   1          9.     The CH-53E incorporates three engines as opposed to the -53D’s two
   2    engines. It has an aerial refueling probe not present on the -53D. It comprises an
   3    increase in maximum gross weight of over 20,000 pounds, with corresponding
   4    structural and size modifications.     These significant differences by necessity
   5    required a significant overhaul of the physical and functional configurations of both
   6    the wiring and hydraulic systems. No design decision related to these overhauls was
   7    made by any representative of the U.S. Government. The entire record produced by
   8    the Navy and Sikorsky contains no evidence or suggestion of any government input
   9    regarding how any of these changes would be accommodated by the wiring or
  10    hydraulic systems. Instead, the design and implementation of these substantial
  11    changes was specifically left entirely to the discretion of Sikorsky.
  12          10.    One such discretionary decision made in this process, evidently, was to
  13    consolidate the hydraulic manifold components into a single, unified “module.”
  14    (Wakefield Exhibit 12 (SER-13300), Sec. 3.1.74.)               The ultimate design
  15    implementation of this principle was left entirely up to Sikorsky’s discretion. The
  16    entirety of the record yields no evidence whatsoever that the government ever
  17    considered, was involved with, or offered any design input on any description or
  18    depiction of the CH-53E Utility Module during the design and development phases.
  19          11.    Other variances between the wiring designs of the -53D and -53E are
  20    discernible in the schematic depictions of those systems. Exhibit A hereto is the
  21    Landing Gear System schematic pertaining to the R-/CH-53D [SIK024984]. Exhibit
  22    B hereto is the Landing Gear Control schematic pertaining to the CH-53E
  23    [SIK008384].
  24          12.    Nowhere in the extensive record of the -53E’s development is there any
  25    suggestion that the government ever directed these variances in the design of the
  26    CH-53E landing gear control system. This was strictly a discretionary decision on
  27    the part of Sikorsky alone.
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                                                     4
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   1          13.    In any event, both schematics contain a block for a reviewed-signature
   2    from a government representative in the right-hand corner. Both government-
   3    signature blocks are empty on the schematics produced by Sikorsky in this action.
   4    Moreover, neither of these schematics was produced by the government in this
   5    action, even though upon information and belief the parties to this action issued a
   6    broad subpoena seeking all the government’s documents pertaining to the design and
   7    development of the CH-53E.         And finally, government signatures on these
   8    documents are specifically intended to approve the format of the drawing, not
   9    approval of the design.
  10          14.    Of course, even if government signatures had been put to these
  11    schematics, this would be insufficient to show the government ever exercised any
  12    discretion as to how the system in either aircraft was configured, since without more
  13    it would be a mere “rubber stamp.” The importance of the absence of signatures in
  14    the context of Sikorsky’s Motion for Summary Judgment is that they can’t even show
  15    a rubber stamp!
  16

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  19          I DECLARE UNDER PENALTY OF PERJURY THAT THE
  20    FOREGOING IS TRUE AND CORRECT.
  21          Executed on July 2, 2017, at North Richland Hills, Texas.
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  25                                   COL. WILLIAM LAWRENCE
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          DECLARATION                                      CASE NO. 3:13-CV-00331-GPC-KSC
